                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 IN THE MATTER OF THE SEARCH OF THE                           Case No.: 21-mj-2052
 CELLULAR TELEPHONE ASSIGNED CALL
 NUMBER (615) 578-7125                                        Judge Frensley


                           UNITED STATES= MOTION TO UNSEAL

The United States of America, by its attorneys Mark H. Wildasin, Acting United States Attorney

for the Middle District of Tennessee, and Juliet Aldridge, Assistant United States Attorney,

requests that this Court unseal the Application and Warrant presented to this Court on November

15, 2021, this Motion, and the Order granting this Motion. The United States submits that the

defendant has been arrested and brought into custody. Therefore, the United States would submit

that the original reasons for the previously filed Motion to Seal, and the Court’s order granting that

Motion, no longer exist.

       A proposed order to unseal the above described documents accompanies this motion.



                                                      Respectfully submitted,
                                                      MARK H. WILDASIN
                                                      ACTING UNITED STATES ATTORNEY

                                                      By: /s/ Juliet Aldridge
                                                      JULIET ALDRIDGE
                                                      Assistant United States Attorney
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing has been served on all
opposing counsel either by email, the CM/ECF electronic delivery system on this the 22nd day
of November, 2021.

                                                    /s/ Juliet Aldridge
                                                   JULIET ALDRIDGE
                                                   Assistant U. S. Attorney




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